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                                         ATTACHMENT




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
___________________________________
[PARTY NAME]                         )
                                    )
      Plaintiff,                    )
                                    )
  V.                                )  Civil Action No.
                                    )   XX-XXXX (EGS)
                                    )
[PARTY NAME]                        )
                                    )
      Defendant                     )
___________________________________ )

                      [Defendant’s] Statement of Material Facts as to
                            Which There is no Genuine Issue

1. Plaintiff began working at [Federal
Agency] on month, day, year as an [title of
position]. Pl.’s Dep. Tr. at X.
2. At that time plaintiff was [XX] years old.
Pl.’s Dep. Tr. at X.
3. At all times during her employment with
[Federal Agency], plaintiff’s supervisor was
[name of supervisor]. Pl.’s Dep. Tr. at X,
Def.’s Dep. Tr. at X.
4. Plaintiff received five disciplinary notices
during the time she was supervised by [name
of supervisor]. Pl.’s Dep. Tr. at X, Ex. A-E to
Pl.’s Br.; Def.’s Dep. Tr. at X.
5. Plaintiff was dismissed from her position
on month, day, year. Pl.’s Dep. Tr. at X,
Def.’s Dep. Tr. at X.
6. Plaintiff’s dismissal was based solely on
her failure to report to work at her designated
reporting time. Pl.’s Dep. Tr. at X, Def.’s
Dep. Tr. at X, Ex. A-H to Def.’s Br.
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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
___________________________________
[PARTY NAME]                        )
                                    )
      Plaintiff,                    )
                                    )
  V.                                )  CA. XX-XXXX (EGS)
                                    )
[PARTY NAME]                        )
                                    )
      Defendant                     )
___________________________________ )

                      [Plaintiff’s] Counter-Statement of Material Facts
                            as to Which There is a Genuine Issue

1. Plaintiff began working at [Federal                1. Admitted.
Agency] on month, day, year as an [title of
position]. Pl.’s Dep. Tr. at X.
2. At that time plaintiff was [XX] years old.         2. Admitted.
Pl.’s Dep. Tr. at X.
3. At all times during her employment with            3. Admitted.
[Federal Agency], plaintiff’s supervisor was
[name of supervisor]. Pl.’s Dep. Tr. at X,
Def.’s Dep. Tr. at X.
4. Plaintiff received five written disciplinary       4. Denied. Plaintiff received four, not five
notices during the time she was supervised by         written disciplinary notices. Pl.’s Dep. Tr. at
[name of supervisor]. Pl.’s Dep. Tr. at X,            X. Plaintiff did not receive a written notice
Def.’s Dep. Tr. at X, Ex. A-E to Def.’s Br.           regarding an alleged late arrival on month,
                                                      day, year, but only a verbal warning. Pl.’s
                                                      Dep. Tr. at X.
5. Plaintiff was dismissed from her position          5. Admitted.
on month, day, year. Pl.’s Dep. Tr. at X,
Def.’s Dep. Tr. at X.
6. Plaintiff’s dismissal was based solely on          6. Denied. [Name of Supervisor] fired
her failure to report to work at her designated       plaintiff because of her age. Pl.’s Dep. Tr. at
reporting time. Pl.’s Dep. Tr. at X, Def.’s           X.
Dep. Tr. at X, Ex. A-H to Def.’s Br.
*                                                     *
                                                      30. On month, day, year, [name of supervisor]
                                                      asked plaintiff whether her age caused her to
                                                      allegedly be late to work. Pl.’s Dep. Tr. at X.
                                                      31. On month, day, year, [name of supervisor]
                                                      told plaintiff that he had never supervised
                                                      someone as old as her. Pl.’s Dep. Tr. at X.

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[Plaintiff] contends that the following are material facts as to which there is a genuine issue of
fact for trial:

   1.    Whether on month, day, year, [name of supervisor] asked plaintiff whether her age
        caused her to allegedly be late to work.

   2. Whether on month, day, year, [name of supervisor] told plaintiff that he had never
      supervised someone as old as her.




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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
___________________________________
[PARTY NAME]                        )
                                    )
      Plaintiff,                    )
                                    )
  V.                                )  CA. XX-XXXX (EGS)
                                    )
[PARTY NAME]                        )
                                    )
      Defendant                     )
___________________________________ )

               [Defendant’s] Reply to Counter-Statement of Material Facts
                          as to Which There is a Genuine Issue


1. Plaintiff began working at [Federal                1. Admitted.
Agency] on month, day, year as an [title of
position]. Pl.’s Dep. Tr. at X.
2. At that time plaintiff was [XX] years old.         2. Admitted.
Pl.’s Dep. Tr. at X.
3. At all times during her employment with            3. Admitted.
[Federal Agency], plaintiff’s supervisor was
[name of supervisor]. Pl.’s Dep. Tr. at X,
Def.’s Dep. Tr. at X.
4. Plaintiff received five written disciplinary       4. Denied. Plaintiff received four, not five
notices during the time she was supervised by         written disciplinary notices. Pl.’s Dep. Tr. at
[name of supervisor]. Pl.’s Dep. Tr. at X,            X. Plaintiff did not receive a written notice
Def.’s Dep. Tr. at X, Ex. A-E to Def.’s Br.           regarding an alleged late arrival on month,
                                                      day, year, but only a verbal warning. Pl.’s
                                                      Dep. Tr. at X.
5. Plaintiff was dismissed from her position          5. Admitted.
on month, day, year. Pl.’s Dep. Tr. at X,
Def.’s Dep. Tr. at X.
6. Plaintiff’s dismissal was based solely on          6. Denied. [Name of Supervisor] fired
her failure to report to work at her designated       plaintiff because of her age. Pl.’s Dep. Tr. at
reporting time. Pl.’s Dep. Tr. at X, Def.’s           X.
Dep. Tr. at X, Ex. A-H to Def.’s Br.
*                                                     *
30. Denied. [Name of Supervisor] never                30. On month, day, year, [name of supervisor]
asked plaintiff whether her age caused her to         asked plaintiff whether her age caused her to
be late to work. Def.’s Dep. Tr. at X.                allegedly be late to work. Pl.’s Dep. Tr. at X.




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31. Denied. [Name of Supervisor] never told        31. On month, day, year, [name of supervisor]
plaintiff that he had never supervised             told plaintiff that he had never supervised
someone as old as her. Def.’s Dep. Tr. at X.       someone as old as her. Pl.’s Dep. Tr. at X.




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